      Case 4:15-cr-00266 Document 127 Filed on 09/15/15 in TXSD Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-15-266
                                                  §
                                                  §     COMPLEX CASE
                                                  §
ALONZO FLOWERS, et al.                            §

                                                ORDER

       The government filed a motion for continuance and motion to have the case designated as

complex (Docket Entry No.116). The court granted the motion to designate complex by separate

order. The court finds that the interests of justice are served by granting the continuance and that

those interests outweigh the interests of the public and the defendants in a speedy trial. The motion

for continuance is GRANTED. The docket control order is amended as follows:

       Suppression Hearing to be held on:              December 1, 2015, at 9:00 a.m.
       Motions are to be filed by:                     January 4, 2016
       Responses are to be filed by:                   January 19, 2016
       Pretrial conference is reset to:                January 25, 2016 at 8:45 a.m.
       Jury trial and selection are reset to:          February 1, 2016 at 9:00 a.m.


               SIGNED on September 15, 2015, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
